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14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                 SOUTHERN DIVISION
16
     UNITED STATES OF AMERICA,              NO. SACV 13-907 DOC(JPRx)
17

18             Plaintiff,                   [PROPOSED]

19                    v.                    JUDGMENT OF FORFEITURE

20   ONE 2006 LAMBORGHINI
     MURCIELAGO
21
               Defendant.
22   _______________________________
23
     NEXTGEAR CAPITAL, INC.,
24
               Claimant.
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27   //
28   //
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 1          A Court trial of this matter was held on May 26, 2015. The Court issued its Order
 2   re Findings of Fact and Conclusions of Law (Docket No. 75) on June 16, 2015. The
 3   Court found that Plaintiff, United States of America, proved by a preponderance of the
 4   evidence that the defendant, One 2006 Lamborghini Murcielago, is subject to forfeiture
 5   pursuant to 31 U.S.C. § 5317(c)(2) because it represents proceeds of, or is traceable to,
 6   one or more violations of 31 U.S. C. § 5324. The Court further found that Claimant,
 7   NextGear did not prove by a preponderance of the evidence that it was an innocent
 8   owner of the defendant under 18 U.S.C. § 983(d), or establish any other defense to the
 9   forfeiture.
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 1         IT IS ORDERED, ADJUDGED AND DECREED THAT:
 2         1.     All right, title and interest in the defendant, One 2006 Lamborghini
 3   Murcielago, is hereby forfeited to plaintiff United States of America and no other right,
 4   title or interest shall exist therein. The government shall dispose of the defendant vehicle
 5   according to law.
 6         2.     Claimant NextGear did not substantially prevail in this action within the
 7   meaning of 28 U.S.C. § 2465. This judgment shall constitute a certificate of reasonable
 8   cause within the meaning of 28 U.S.C. § 2465(a)(2).
 9         3.     There being no just reason for delay, the clerk is hereby directed to enter
10   this judgment, which constitutes a final judgment resolving this action as to all of the
11   parties hereto, and all other potential claimants.
12         IT IS SO ORDERED.
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15   DATE                                           HONORABLE DAVID O. CARTER
                                                    UNITED STATES DISTRICT JUDGE
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     PRESENTED BY:
17
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18   Acting United States Attorney
19   ROBERT E. DUGDALE
     Assistant United States Attorney
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